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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ADVANCED ANALYTICS, INC.,

                              Plaintiff,

       -v-                                              CIVIL ACTION NO. 04 Civ. 3531 (LTS) (SLC)

                                                                          ORDER
CITIGROUP GLOBAL MARKETS, INC., et al.,

                              Defendants.


SARAH L. CAVE, United States Magistrate Judge.

       On September 27, 2023, Plaintiff filed a motion under, inter alia, Federal Rules of

Appellate Procedure 10(a), 10(e)(1), 10(e)(2)(a)-(b), and 11(b)(2), in which it disputes the current

state of the record underlying its pending appeal to the Second Circuit. (ECF No. 503 (the “First

Motion”); see Advanced Analytics, Inc. v. Citigroup Glob. Mkts., Inc., No. 22-1718 (2d Cir. filed

Aug. 8, 2022) (the “Appeal”). On October 11, 2023, Defendants filed an opposition to the First

Motion. (ECF No. 505). On October 15, 2023, Plaintiff filed a motion under, inter alia, Federal

Rules of Appellate Procedure 10(b)(2) and 10(c), which also regards the record on Appeal.

(ECF No. 507 (the “Second Motion,” together with the First Motion, the “Motions”).

       On review of the Motions, the Court does not perceive a need for Defendants to respond

to the Second Motion. On receipt of Plaintiff’s reply papers on the First Motion on or before

October 18, 2023—or if that date passes without a reply being filed—the Court is prepared to

decide the Motions together in due course without requiring additional papers from the parties.

       The Clerk of Court is respectfully directed to close ECF No. 508 and ECF No. 509, which

were incorrectly filed as motions.
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Dated:     New York, New York
           October 16, 2023

                                         SO ORDERED.


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                                         SARAH L. CAVE
                                         United States Magistrate Judge




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